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                IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                              BILLINGS DIVISION


 UNITED STATES OF AMERICA,                     Case No. CR-23-20-BLG-SPW


              Plaintiff,

 vs.                                                      ORDER


 MOISES ZAMORA,

              Defendant.



       Upon the Court's Own Motion,

       IT IS HEREBY ORDERED that the trial date of August 21, 2023 is hereby

VACATED to be reset upon this Court's ruling on the Defendant, Moises

Zamora's Motion to Suppress(Doc. 20). The time from the motion's filing on July

10, 2023,to this Court's decision on the motion is excluded from the speedy trial

clock pursuant to 18 U.S.C. § 3161(h)(1)(D).

       The Clerk of Court is directed to notify counsel ofthe making of this Order.

       DATED this _£^^day of August, 2023.


                                      SUSAN P. WATTERS
                                      U. S. DISTRICT COURT JUDGE
